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AO 94 (Rev. 06/09) Commitment to Another District



                                     UNITED STATES DISTRICT COURT
                                                                    for the
                                                          District
                                                    __________     of Vermont
                                                                District of __________

                 United States of America                             )
                            v.                                        )
                                                                      )       Case No. 2:18-cr-136
                                                                      )
                  Angelo Peter Efthimiatos                            )          Charging District’s
                           Defendant                                  )          Case No. 3:13-cr-00015-1

                                            COMMITMENT TO ANOTHER DISTRICT

         The defendant has been ordered to appear in the                      Southern       District of Iowa              ,
(if applicable) Davenport                            division. The defendant may need an interpreter for this language:
                                                                .

         The defendant:         u will retain an attorney.
                                ✔ is requesting court-appointed counsel.
                                u

         The defendant remains in custody after the initial appearance.

         IT IS ORDERED: The United States marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the United
States attorney and the clerk of court for that district of the defendant’s arrival so that further proceedings may be
promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.



Date: 12/20/2018                                                                            /s/ John M. Conroy
                                                                                             Judge’s signature

                                                                                   John M. Conroy, U.S. Magistrate Judge
                                                                                           Printed name and title
